Case 2:05-cv-02301-.]PI\/|-STA Document 4 Filed 05/31/05 Page 1 of 2 Page|D 1

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FoR THE WESTERN DISTRICT oF TENNES f " ' ""

 

WESTERN DIVISION §§ MBY q § pitt q: !_5

GAToR FREIGHTWAYS, INC. d/b/a CL~'§_;;,.F= 1_3£§§>»&
R+L CARRIERS, W, h §§ 3../::§$\}::-“1',41$

Plaintifl°,
vs.

NG. 05-2301-M.L An

DORO MOTORS, INC., JURY TRIAL DEMANDED

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION FOR EXTENSION OF TIME

On this day came on for consideration Defendant’s Motion for Extension of Time to
file Response to Plaintiff`s Cornplaint, and the Court having considered same, is of the
opinion that the Motion should be granted

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED, that Defendant
shall have until June 24, 2005, to file its response to Plaintifi"s Com laint.

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United States Di-st-l=ie; Judge

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Date

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02301 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

